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                IN THE UNITED STATES DISTRICT COURT FOR
                      THE SOUTHERN DISTRICT OF GEORGIA
                                SAVANNAH DIVISION


UNITED STATES         OF AMERICA


V.                                                   CASE NO. CR417-095


EUGENE HARRISON,                                                 U. S. DISTRICT COURT
                                                                 Southern District of GA
        Defendant.
                                                                      Filed In Office
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                                                                            ■9v\ \M 201-)
                                     °^°^ ^                          "Deputyfilfk
        On September         14,   2017,    this    Court   received a letter

from     D.     Campbell       Bowman,      Jr.,     appointed       counsel      for

Defendant       Eugene Harrison in the              above   case.    This   letter

purports to notify the Court that Mr. Bowman ''will be away

from the practice of law" from November 22 to November 24,

2017;    December       15    to   December    19,    2017;   December       26    to

December 29, 2017, and on January 2, 2018. According to the

correspondence, Mr.           Bowman's truancy is based on a desire

to vacation with his family.

        While    it    cannot      begrudge   Mr.    Bowman    for    wanting      to

spend time with his family, this Court is somewhat confused

by counsel's submission.                 As an initial matter,         the United

States District Court              for   the Southern District         of   Georgia

operates on motions, not correspondence, and letters to the

Court are extremely disfavored. While some venues are more

informal,       this forum takes actions in cases based on relief
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requested in motions submitted by the parties to an action.

Mailing requests for relief directly to presiding judges is

simply imprudent and ill-advised. The filing of a motion,

as compared to the mailing of a letter, allows the Court to

create    a    record.        It   is    from    this    record       that       a    later


observer      can     piece    together        the    sequence       of    events         that

gave   form     and      substance       to    the    legal    resolution            of    the

underlying dispute.

       Also,       Mr.    Bowman's         rather      unusual       notice          simply

declares       that      unless     this       Court     objects          to   counsel's

proposed      absence      within        ten    days,    then       leave       shall       be

automatically            granted.        The     Court        has     conducted             an

exhaustive      review       of    its   local       rules,    but    has      failed       to

uncover any provision allowing for members of this bar to

unilaterally          declare       their       absence.        Rather,         Southern

District      of     Georgia       Local      Rule    83.9    governs          leaves       of

absence       from    this     Court.         Furthermore,       while         this       rule

states that leaves of absence '"may be granted as a matter

of course," there is nothing in the rule that would allow

counsel to simply declare his absence. S.D. Ga. L.R. 83.9.

Apparently, Mr. Bowman failed to read our local rules and

submitted his request for leave of absence in conformance

with Georgia Uniform Court Rule 16, which allows leaves of

absence to be granted where neither opposing counsel nor
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the court timely objects. Admittedly, it has been some time

since this Court has researched the issue, but this Court's

understanding     is   that    it    is   not    bound   by     the   Georgia

Uniform   Court   Rules.      In    any   event,    counsel      should    not

abandon   hope:   this   Court      would   be   more    than    willing   to

consider any requests for leaves of absence that properly

conform to the     requirements       contained in this          district's

local rules.


     SO ORDERED this /' day of September 2017.



                                      WILLIAM T. MOORE,
                                      UNITED STATES      DISTRICT COURT
                                      SOUTHERN     DISTRICT OF GEORGIA
